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UNITED STATES DISTRICT COURT OF NEW YORK
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------X
                                                                 :  Case No.: 21-cv-2102
STICHTING JURIDISCH EIGENDOM DE                                  :
VESTE BELEGGINGSFONDSEN,                                         :
                                                                 :  COMPLAINT
                                           Plaintiff,            :
                                                                 :
                    -against-                                    :
                                                                 :
CAPSTONE CREDIT, LLC, CAPSTONE                                   :
CAPITAL GROUP, LLC and JOSEPH F.                                 :
INGRASSIA,                                                       :

                                           Defendants.
-------------------------------------------------------------------X

                 Plaintiff Stichting Juridisch Eigendom De Veste Beleggingsfondsen (“Plaintiff”

or “Stichting”), by its attorneys Offit Kurman P.A., for its complaint against defendants

Capstone Credit, LLC (“CC”), Capstone Capital Group, LLC (“CCG”), and Joseph F. Ingrassia

(“Ingrassia,” and together with CC, and CCG the “Defendants”), alleges as follows:

                                     NATURE OF THE ACTION

                 1.       Plaintiff brings this action for breach of contract, [negligent/fraudulent

misrepresentation] and foreclosure of security interest against Defendants based on a Loan and

Security Agreement and Line of Credit Note (the “Loan Documents”) made by Defendants. As

set forth in greater detail below, Stichting provided secured financing pursuant to the Loan

Documents in September of 2017. After the Defendants failed to make certain payments under

the Loan Documents, Stichting sent a notice of default in June 2020, followed by further

failures to make required interest payments and a follow-up note accelerating the full principal

amount under the Loan Documents. After the default, Stichting learned that the Defendants

without Plaintiff’s knowledge and approval had transferred certain assets pledged to Stichting

to another affiliate, Capstone BF, LLC. It appears that contemporaneously with this transaction,
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the Defendants arranged the filing of a financial statement that purports to release collateral in

which Plaintiff holds a security interest.

                                        THE PARTIES

               2.      Plaintiff is a foundation duly organized under the laws of the

Netherlands, with a principal office at Hoogoorddreef 15, 1101 BA Amsterdam, The

Netherlands. Plaintiff acts in a fiduciary capacity as an investment vehicle named Trade

Finance Handelsfonds which qualifies for fiscally supported private retirement plans in The

Netherlands. Out of 822 participants 419 private participants have invested their pension

savings in this fund of which 219 are retired and in the pay-out phase, depending for part of

their income on pay-out from this investment fund. Stichting acts as the independent legal

owner of the investment fund.

               3.      Defendants CC and CCG are engaged in the business of factoring their

customers’ invoices and making loan advances against their customers’ purchase orders as a

means to provide cash flow that facilitates their customers’ operations.

               4.      Defendant Ingrassia is a natural person and a resident of the State of

New York with a place of residence in New York City, New York County. Defendant Ingrassia

is the Managing Member of each of CC and CCG and an owner of CC and CCG.

                                JURISDICTION AND VENUE

               5.      This Court has jurisdiction on the basis of diversity of citizenship, and

because the damages exceed the sum of $75,000 pursuant to 28 U.S.C. §1332(a).

               6.      Venue is appropriate pursuant to §1391(b)(1) because CC and CCG’s

principal places of business and defendant Ingrassia’s place of business are all in New York

City, New York County. Defendants also consented to this forum for resolution of all disputes

arising out of the Loan Documents.




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                               BACKGROUND AND FACTS

               7.      Pursuant to a Loan and Security Agreement, dated as of September 25,

2017 (the “CC Loan and Security Agreement”) and a Line of Credit Note, dated as of

September 25, 2017 (the “CC Line of Credit”), Stichting extended a loan in the amount of $

17,850,000 to CC.

               8.      Pursuant to an identical Loan and Security Agreement, dated as of

September 25, 2017 (the “CCG Loan and Security Agreement”, and together with the CC Loan

and Security Agreement, the “Loan and Security Agreements”) and a Line of Credit Note,

dated as of September 25, 2017 (the “CCG Line of Credit Note” and, together with the CC

Line of Credit Note, the “Line of Credit Notes”, and the Line of Credit Notes and the Loan and

Security Agreements together the “Loan Documents”), Stichting extended a loan in the amount

of $ 21,889,019 to CCG.

               9.      Stichting is a party to an Intercreditor Agreement, dated as of September

25, 2017 (the “Intercreditor Agreement”), with Capstone Cayman Capital Asset Management

Ltd., as general partner of Capstone Cayman Current Liquidity Fund LP (“CCCLF”), a Cayman

Islands limited partnership.

               10.     The Line of Credit Notes provided that interest shall be accrued on the

unpaid principal balance at the rate of twelve and a half percent (12.5%) per annum. The entire

principal balance and interest accrued and outstanding under the Loan Documents was due and

payable five years from the date of execution of the Loan Documents.

               11.     Under Section 3.1.3 of the Loan and Security Agreements, Plaintiff was

entitled to partial prepayment (up to 10%) of the unpaid principal without penalty or premium,

on a ten-day notice.

               12.     To secure the performance of the obligations pursuant to the Loan

Documents, Defendants granted to Stichting a security interest in present and future Accounts,



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Chattel Paper, Goods, Equipment, Inventory, Instruments, Investment Property, Documents

and General Intangibles as those are defined in the New York Uniform Commercial Code (the

“Collateral”). UCC-1 statements were filed by Stichting with the Delaware secretary of state

on October 31, 2017.

                13.      The Loan Documents provided that the Collateral secured the prompt

and full performance and payment of all of the other indebtedness, obligations and liabilities

of CC and CCG, existing at the time or arising after the execution, including all interest, fees

(including attorney’s fees), cost and expenses that CC and CCG are required to pay and perform

pursuant to the Loan Documents.

                14.     CC and CCG represented and warranted that Stichting’s security

interests in the Collateral constitutes, and will at all times constitute, first priority liens on the

Collateral, and CC and CCG are, or will be at the time additional collateral is acquired by them,

the absolute owners of such additional collateral with full right to pledge, sell, transfer and

create a security interest therein, free and clear of any and all claims or liens.

                15.     Pursuant to Section 3.1.3 of each of the Loan and Security Agreements,

on March 19, 2020 and April 30, 2020, Stichting demanded payment of ten percent of the

outstanding principal under the Loan Documents. CC and CCG failed to make these payments

in the amounts of $1,300,000 for the March 2020 redemption and $1,400,000 for the April

2020 redemption respectively.

                16.     In addition, CC and CCG have failed to make the interest payments

under Section 3.2.1.1. of each of the Loan and Security Agreements since August 2020.

                17.     Each of these failures constitutes an Event of Default pursuant to Section

10.1 of the respective Loan and Security Agreement. The first notices of default to CC and

CCG were sent in June 2020, followed by a second notice of default in November 2020. The

entire unpaid principal was accelerated as of June 22, 2020.



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               18.     The Loan Documents provide that in the Event of Default any payments

of principal shall bear interest at a default rate set forth therein (the “Default Rate”). The

Default Rate is equal to the lesser of (a) the maximum rate permitted by applicable law, or (b)

two percent (2%) above the Interest Rate.

               19.     The Loan Documents further provide that upon an occurrence of an

event of default, CC and CCG shall be liable for all costs incurred for enforcement of the Loan

Documents and collection of any amounts due under the Loan Documents, including

reasonable attorneys’ fees.

               20.     Despite the fact that it was faced with the default notice, CC and CCG

did not make any payments for the remainder of 2020. On February 9, 2021, Plaintiff sent a

notice of continued default and demanded to exercise its rights to inspect CC and CCG’s books

and records pursuant to Section 9.3 of the Loan and Security Agreements. CC and CCG by

letter, dated February 16, 2021, refused to provide access and claimed the Loan Documents

were modified. However, Stichiting has not agreed to any amendment or modification of the

Loan Documents. Section 11 of the Loan and Security Agreements explicitly requires an

instrument in writing signed by all parties to change, waive, discharge or terminate provisions

of the Loan Documents. No such instrument was ever signed and no agreement for

modification was reached.

               21.     A payment of $1,000,000 was made on February 28, 2021, which was

applied to the total indebtedness and subject to all rights and remedies of Stichting under the

Loan Documents. Both the November 2020 notice and February 2021 notice to CC and CCG

expressly stated that Plaintiff was not waiving any rights.

               22.     Meanwhile, it came to Stichting’s attention that on September 13, 2018,

CC and CCG transferred assets to their affiliate Capstone BF, LLC. At the same time, on or

about September 14, 2018, an amendment to Stichting’s financing statement was filed



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purporting to restate the collateral securing repayment of the debt to Stichting. The amendment

stated: “Secured Party hereby releases its security interest solely in the “Purchased Assets” as

defined in that certain Purchase and Sale Agreement, dated as of September 13, 2018, by and

between Debtor as seller, and Capstone BF, LLC, a Delaware limited liability company, as

purchaser…”

               23.     Upon information and belief, Capstone BF, LLC is an entity controlled

by Defendant Ingrassia and he concealed the diversion of assets from defendants CC and CCG

to Capstone BF, LLC.

               24.     No one at Stichting or the fund manager, De Veste has knowledge or

information about such a release nor did Stichting or De Veste sign any documents authorizing

such a release. CC and CCG never notified Stichting of the sale of assets to Capstone BF, LLC

in 2018. Upon information and belief, the filing of these amendments that purport to release

collateral were made at the direction of the Managing Member of CC and CCG, Joseph F.

Ingrassia.

               25.     Also, Stichting learned that CC and CCG’s affiliate Capstone Business

Funding, LLC entered into a Forbearance Agreement with the receiver of Direct Lending

Investments LLC. The Forbearance Agreement mandates transfer of all receivables and/or

rights to payment of CC and CCG, included in the collateral under the Loan Documents to the

DLI Receiver. In particular, under Section 4.6 of the Forbearance Agreement, Capstone

Business Funding, LLC agreed to cause Capstone Capital Group, LLC and Capstone Credit,

LLC to assign to Capstone Business Funding, LLC all Financeable Assets subject to financing

by Capstone Capital Group, LLC and Capstone Credit, LLC and all Financeable Asset Portfolio

Documents in connection therewith that have not already been assigned as of the date of this

Agreement.




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                26.     As of the date of this complaint, all principal and interest in the amount

of $ 41,624,180.63 under the Loan Documents remain due and owing to Plaintiff.

                        AS AND FOR A FIRST CAUSE OF ACTION
                          (Breach of Contract against CC and CCG)

                27.     Plaintiff repeats and incorporates by reference the allegations contained

in paragraphs 1 through 26 above as if fully set forth herein.

                28.     Plaintiff fulfilled all of its obligations under the terms and conditions of

the Loan Documents.

                29.     Defendants CC and CCG breached those terms by failing to remit

payments as required under the Loan Documents.

                30.     As of the date of this complaint, Defendant CC and CCG continue their

default.

                31.     By reason of the foregoing, Plaintiff has suffered injury and is entitled

to damages in an amount to be determined at trial, including the principal, interest and

reasonable attorneys’ fees for enforcement and collection of Defendants’ obligations.

                      AS AND FOR A SECOND CAUSE OF ACTION
                  (Fraudulent Misrepresentation Against All Defendants)

                32.     Plaintiff repeats and incorporates by reference the allegations contained

in paragraphs 1 through 31.

                33.     Defendants CC and CCG made fraudulent representations to Plaintiff,

including that a) Stichting will have first priority lien; b) that CC and CCG were the absolute

owners of collateral with full right to pledge, sell, transfer and create a security interest therein,

free and clear of any and all claims or liens; and c) that CC and CCG would perform under the

Loan Documents.




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               34.     Defendant made the fraudulent representations with the intent that

Plaintiff rely on the representations and that it would not enforce its rights under the Loan

Documents, while defendants diverted assets pledged to Stichting.

               35.     Plaintiff in fact reasonably relied on these material misrepresentations.

               36.     Defendant Ingrassia omitted to disclose a material transaction between

CC and CCG, on one hand, and their affiliate Capstone BF, LLC on the other hand. To this

date, Ingrassia, CC and CCG refuse to provide documentation and information regarding this

transaction.

               37.     By reason of the foregoing, Plaintiff has suffered injury and is entitled

to damages in an amount to be determined at trial, and such further relief as the Court should

deem proper.

                       AS AND FOR A THIRD CAUSE OF ACTION
                 (Foreclosure of Personal Property against CC and CCG)

               38.     Plaintiff repeats and incorporates by reference the allegations contained

in paragraphs 1 through 37.

               39.     Pursuant to the terms of the Loan Documents, CC and CCG granted to

Stichting a security interest in the Collateral, including all goods, inventory, equipment,

instruments, documents, accounts, chattel paper, accounts, letters of credit, general intangibles,

investment property.

               40.     Plaintiff has filed the required financing statement (UCC-1) with the

Delaware Secretary of State.

               41.     No other action has been instituted and pending on the Loan Documents.

               42.     As a result of Defendants’ defaults under the Loan Documents, Stichting

is entitled to judgment foreclosing its interest in the collateral by directing the sale of the

collateral and proceeds of the sale to be applied to Defendants’ obligations to Stichting as

provided in the Loan Documents and applicable law.


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                WHEREFORE, Plaintiff respectfully requests judgment (i) awarding damages

in favor of Plaintiff against defendants in an amount to be proven at trial, but in no event less

than $39,739,019, together with default interest, attorneys fees, costs and disbursements; and

(ii) that the interest of Stichting in the Collateral be declared a valid first lien on the Collateral,

that the interest of Stichting in such Collateral be foreclosed and sold at one or more foreclosure

sales in the manner provided by law, and that the proceeds of the foreclosure sales be applied

to the obligations of the Defendants under the Loan Documents, together with any additional

amounts that Stichting has incurred or may advance under the terms of the Loan Documents;

and (iii) for such other and further relief as to the Court may seem just and proper.

Dated: New York, New York
        March 10, 2021

                                                         OFFIT KURMAN, P.A.


                                                         By: s/Albena Petrakov
                                                             Albena Petrakov

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TO:

CAPSTONE CREDIT, LLC
CAPSTONE CAPITAL GROUP, LLC
JOSEPH F. INGRASSIA




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